                                                                                    - ----    -":'•~
                                                                                           .&·:~'( lli~SR1F1_!:SHOFFICE                                                              Q.
                                                                                     ---=::                   - --
                                                                                     CHAD CHRONISTER, SHERIFF


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                                 provided should not be relied upon fo r any type of legal action.
                                                                                                                                      Team HCSO helP.s rescue man lost in
                                                                                                                                      state P.ark
                        HILLSBOROUGH COUNTY SHERIFF'S OFFICE                                                                          ii   Oct 27, 2022


                        PARTICIPATES IN HIGH VISIBILITY                                                                               Sheriff Chad Chronister announces
                        ENFORCEMENT PROGRAM TO IMPROVE                                                                                J1P.romotions
                                                                                                                                      ii   Oct 26, 2022

                        PEDESTRIAN AND BICYCLE SAFETY
                        For Immediate Release : Hillsborough County Sheriffs Office                                                   ~P.ect in custody after confessing_!g_
                                                                                                                                      fatallY. shooting relative
                                                                                                                                      ii   Oct 2 5. 2022
                        ii August 26, 2022   .:, Public Affairs Office I piocommandcemer@hcso.tampa.fl.us   '9 (813) 247-8060


                                                                                                                                      HCSODeP.uties looking for second
                                                                                                                                      mP.ect in shooting outside of Brandon
                                                                RELEASENUMBER: 22-123                                                 Mall
                                                                                                                                      ii   Oct 24, 2022

                                    Date                                                                    Locatio n
                                                                                                                                      Two susP.ects arrested on human
                                                                                                                                      traffickingcharni
                        Starting this month through May 2023, the Hillsborough County Sheriffs Office                                 ii   Oct 24, 2022
                        w ill have additiona l deputies on patrol at specific corridors with a high occurrence
                        of pedestrian and bicycl ist crashes. Special attention will be directed towards
                                                                                                                                      Man arrested for human trafficking,
                        increasing awareness of t he dangerous behaviors that are contributing to serious
                                                                                                                                      ,ictim rescued
                        and fatal inJuries at these locations.                                                                        ii   Oct 14, 2022


                        Hillsborough County ran ks in the top 25 counties in Florida for traffic crashes
                        resulting in serious and fa tal inj uries to pedestrians and bicyclists. To help reverse                      ~P.filY. Stons ltidnapp.i!!g Following_Duick
                        this trend, HCSO is participating in the Florida Department of Transportation High                            Pursuit

                        Visi bility Enforcement (HVE) Program aimed at educating motorist s, bicyclists, and
                                                                                                                                      ii   Oct 12, 2022

                        pedestrians on Florida's traffic laws to improve safety on Hillsborough County
                        roads.                                                                                                        HCSOSearching for Homicide SusP.ect
                                                                                                                                      ii   Oct 07. 2022


                        Deputies wi ll look for drivers speeding, fail ing to stop fo r pedestrians in
                        crosswalks, conducting improper turns or signal violations, and using hand-held
                                                                                                                                      HCSOLooking for Additional Victims of
                        devices whi le driving. Deputies also will watch for pedestrians who cross the                                Local AC Comp_!!!Y. Owner Arrested for
                        street illega lly or fa il to yield to motorists who have the r ight-of-way. Bicyclists will                  Fraud
                        be stopped fo r riding against traffic, riding at night without lights or not abiding                         ii   Oct 04, 2022

                        by the same laws as motor vehicles. Depu ties w ill issue warnings and citations
                        only when appropriate.                                                                                        HCSODetectivesArrest Man for Killing
                                                                                                                                      Victimwith One Punch
                        ''These operations aren't about issuing citations," said Sheriff Chad Chronister ''We                         ii   Oct 04, 2022
                        want to take these opportuniti es to ra ise awareness and educate drivers,
                        pedestrians, and bicyclists on the importance of road safety. Together we can
                        make our roa dways a safe place for all."

                        Funding for this program is provided through a contract with the University of
                        North Florida's Institute of Police Tech nology and Management (IPTM) funded by
                        the Florida Department of Transportati on. Hillsborough County Sheriffs Office
                        will receive funds for overtime hours for officers to conduct operations and for
                        special train ing on Florida's bicycle and pedestrian laws, procedures, and best
                        practices.

                        The following locations will be part of the upcoming HVE operation:

                              Fletcher Avenue, from Fletcher Regency Drive to Bruce B Downs Blvd.

                              Hi llsborough Ave nue, from Standish Bend Drive to Town and Country Blvd.

                              US Highway 41, from Ohio Street to Gibsonton Drive

                              Hillsborough Ave nue, from Kelly Road to George Road


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                            Hillsborough Avenue, from Standish Bend Drive to Town and Country Blvd.

                            US Highway 41, from Ohio Street to Gibsonton Drive

                            Hillsborough Avenue, from Kel ly Road to George Road

                            Brandon Road, from Kings Avenue to Valrico Road

                            Dr. Martin Luther King Jr . Blvd., from Williams Road to Kingsway Road

                            S 50th Street, from Madison Avenue to Palm River Road

                            US Highway 301, from 1-4 to Harney Canal

                            Bruce B Downs Blvd., from University Square Drive to Campus Hill Drive

                            Bearss Avenue, from N Florida Avenue to N 12th Street

                            Providence Road, from Princeton Lakes Drive to Sweetridge Avenue

                            US 301, from Big Bend Road to Summerfield Crossing Blvd.

                            Dale Mabry Highway, from W Sligh Avenue to Broad Street W

                            W 15th Street, from North of E Fowler Avenue to E 124th Avenue

                            Adamo Drive, from 1-75 to Providence Road


                            W Hillsborough Avenue, from Pinellas County Line to Memorial Highway

                            Dr. Martin Luther King Jr. Blvd., from Mott Drive to Sumner Road

                            US Highway 30 1, from Uncle Tom Road to River Walk Court

                            N US 301, from Sabal Industrial Blvd. to Dr. Martin Luther King Jr. Blvd.

                            US Highway 41, from College Avenue to 4th Avenue NW

                            N 56th Street, from Harney Road to E Hillsborough Avenue

                            Orient Road, from 1-4 to Harney Canal

                            N Florida Avenue, from 124th Avenue E to E Fletcher Avenue

                            Nebraska Avenue, from Fletcher Avenue to E 140th Avenue




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